                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                    AT LOUISVILLE

 UNITED STATES OF AMERICA

 v.                                                Case No. 3:22-cr-84-RGJ

 BRETT HANKISON,
 Defendant.


            UNITED STATES’ NOTICE REGARDING PRETRIAL MATTERS

       The United States of America files this Notice to advise the Court of the status of discovery

and other pretrial matters in this case and to update the Court on its efforts to comply with the

Court’s Amended Order Following Arraignment, ECF No. 18.

       The Amended Order requires the parties to confer about discovery and other pretrial issues

and to make expert disclosures, among other items. To the government’s knowledge, defendant

Hankison has not yet retained counsel to represent him in this case. Accordingly, the government

has not been able to confer with defendant Hankison’s counsel about issues related to discovery

or other pretrial matters as contemplated by the Court’s Order.

       However, consistent with its discovery obligations, the United States has prepared a large

initial discovery production (one of several anticipated in this matter) that includes approximately

66,000 documents and records, totaling more than 300,000 pages, as well as dozens of audio and

video recordings and significant data from electronic devices, such as cell phones and GPS

trackers. The discovery production includes a searchable index that identifies the name and

category of each tendered document. The government is ready to produce this material to the

defendant as soon as he retains counsel and the parties have reached agreement on a protective

order. The United States has drafted a protective order, which, if adopted by the Court, would
allow the government to quickly and efficiently fulfill its discovery obligations while protecting

the important privacy interests implicated by the large volume of sensitive information the

government intends to produce. The proposed protective order is attached as Exhibit A. 1

       The government recently filed a motion to enter an identical protective order in the related

case of United States v. Jaynes and Meany, Case No. 3:22-cr-85-CRS, after conferring with

counsel for both defendants in that case. As noted above, however, the government has not yet

been able to discuss the proposed protective order with counsel for defendant Hankison.

       The United States is prepared to move expeditiously to fulfill its discovery obligations and

to work to resolve other pretrial matters as soon as defendant Hankison retains counsel in this case.


                                              Respectfully submitted,

                                              KRISTEN CLARKE
                                              Assistant Attorney General


                                              /s/ Michael J. Songer
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 The United States intends to file a motion asking the Court to enter the protective order as soon
as it has an opportunity to confer with counsel for defendant Hankison.
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Authority Conferred by 28 U.S.C. § 515




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                                  CERTIFICATE OF SERVICE

        I hereby certify that on this, the 30th day of August, 2022, I electronically filed the

foregoing with the Clerk of the Court using the CM/ECF system which will send notification of

such filing to all counsel of record in this case.




                                                /s/ Michael J. Songer___________
                                                MICHAEL J. SONGER
                                                U.S. Department of Justice




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